Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 1 of 27 Pageid#:
                                  5744
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 2 of 27 Pageid#:
                                  5745
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 3 of 27 Pageid#:
                                  5746
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 4 of 27 Pageid#:
                                  5747
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 5 of 27 Pageid#:
                                  5748
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 6 of 27 Pageid#:
                                  5749
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 7 of 27 Pageid#:
                                  5750
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 8 of 27 Pageid#:
                                  5751
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 9 of 27 Pageid#:
                                  5752
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 10 of 27 Pageid#:
                                   5753
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 11 of 27 Pageid#:
                                   5754
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 12 of 27 Pageid#:
                                   5755
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 13 of 27 Pageid#:
                                   5756
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 14 of 27 Pageid#:
                                   5757
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 15 of 27 Pageid#:
                                   5758
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 16 of 27 Pageid#:
                                   5759
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 17 of 27 Pageid#:
                                   5760
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 18 of 27 Pageid#:
                                   5761
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 19 of 27 Pageid#:
                                   5762
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 20 of 27 Pageid#:
                                   5763
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 21 of 27 Pageid#:
                                   5764
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 22 of 27 Pageid#:
                                   5765
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 23 of 27 Pageid#:
                                   5766
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 24 of 27 Pageid#:
                                   5767
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 25 of 27 Pageid#:
                                   5768
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 26 of 27 Pageid#:
                                   5769
Case 6:20-cv-00054-NKM-RSB Document 146-2 Filed 03/25/22 Page 27 of 27 Pageid#:
                                   5770
